  Case 1:15-cr-00213-SJ Document 162 Filed 04/19/22 Page 1 of 37 PageID #: 1994
iAoT»>i           «^us.G.§a&S5 16                          s&r ^sipe, oj^ cof^^^r ^^^encr                                a P€«.^okj iw fgobrai.cmsi^d
UKtlTED SlATfeS bt^TRlcr C^ViftS:                '

::n~r
Fci -AuOe-ViU^
               ■•■'"x--:^.^)
                ^ pg.3^?>57q7o^S
                                                                           »>'«>                                               v,
                MOTION 1.             (a) Name and location of court that entered the judgment of conviction VOi/nwerk'
                                                challenging:            i^v^crh .P                         u.s. districtcoul
                                                               2^-S 0«<iwto,t\ plt^gX. BpvS^
                            y                                  RTbvktv|n . Vl^rfVflPck. Wxoi                                           "A' APR 1 9, 2I
                          (d) Criminal docket or case number (if you know): v5 - 'X\'^ oT)
                           (a) Date of the judgment of conviction (if you know):
                                               (b) D ate of sentencing:                              <?■<>. •2.0^0                    -BROOKLYN
                                            3.     Length of sentence:              \gp
                                      4.     Nature of crime (all counts): a\ ccx^s^trac^ -Vo use
                                                                                                            ©-tecLcu:^
                                                              <^(vVr:Uu^A.i^
      mi                                                             —vvA«<tvtK^ aKf\                                ^
                                                              x£—                 Aev-Wu                    p (KVsA
                                                                  wvpA^csI -t^L'se.                                                      PROSE ! OFF'
                                                  5.      (a) What was your plea? (Check one)
                       (1) Not guilty                         -^         (3) Nolo contendere (no contest)
             (b) If you eritered a guilty plea to one count or indictment, and a not guilty plea to another count or
                                                                 —           •• .w. ■«.>«•» .w •»!          M                              WWWI ■%   W»


          indictment, wh-at did you plead guilty to
                                                 *—^and what did. you plead not guilty to?-                                            .
                                                                                                                                    ^ -t-eadUwv^

                                                                             TS
                                                                                                    'iv^a.Uy^ 0^
                                                                           * >JO{Vl|>tv<A        ::^ mgL-aV
                                                      A>c.s-VyvicA:N\v\   <gA.Vur,vtf^c^v^lH-to caLMiAa Q) <vftA ^
                 6.      If you went to trial, what kind of trial did you have? (Check one), Jury Judge only
                        7.     Did you testify at a pretrial hearing, trial, or post-trial hearing?              No
                                 8.        Did you appeal from the judgment of conviction? Yes ^(L->
                                                9.       If you did appeal, answer the following:
                                                (a) Name of court:
                                (b) Docket or case number (if you know):
                                                  (c) Result:
                                       (d) Date of result (if you know):
                                  (e) Citation to the case (if you know):
                                            (f) Grounds raised:




                      (g) Did you file a petition for certiorari In the United States Supreme Court? Yes No
                                                           If "Yes," answer the following:
                                (1) Docket or case number (if you know):                                '
                                               (2) Result:

                                    (3) Date of result (if you know):
                                 (4) Citation to the case (if you know):
                                           (5) Grounds raised:




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Case 1:15-cr-00213-SJ Document 162 Filed 04/19/22 Page 2 of 37 PageID #: 1995




   10.      other than the direct appeals listed above, have you previously filed any other motions, petltionis,
                    , or applications concerning this judgment of conviction In any court?
                                                                    Yes^§7
                    11-:^  If your answer to Question 10 was "Yes," give the following Information:
                                    (a)(1) Name of court:
                        ;(2) Docket or case number (if you know):
                         ^    (3) Date of filing (If you know):
                               (4) Nature of the proceeding:
                                    (5) Grounds raised:




       (6)Did you receive a hearing where evidence was given on your motion, petition, or application?
                                                                    Yes No
                                               (7) Result:
                             (8) Date of result (If you know):
               (b) If you filed any second motion, petition, or application, give the same information:
                                    (1) Name of court:
                        (2) Docket or case number (If you know):
                      ,      (3) Date of filing (if you know):
                              (4) Nature of the proceeding:
                         ^               (5) Grounds raised:




       (6) Did you receive a hearing where evidence was given on your motion, petition, or application?
                                                                    Yes No
                                               (7) Result:
                        (8) Date of result (if you know):
   (c) Did you appeal to a federal appellate court having jurisdiction over the action taken on your motion,
                                                          petition, or application?


  (1) First             Y 1 No
  petition:



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Case 1:15-cr-00213-SJ Document 162 Filed 04/19/22 Page 3 of 37 PageID #: 1996




  (2) Second                  No
  petition:

      (d) If you did not appeal from the action on any motion, petition, or application, explain briefly why you
                         ■                                                                                                             did not:
                                                                                                            I S»MS
                                                                                                                mail rt» ley!
                                                                                              flk.nA      aijfljii^                                |ei..
     12.      For this motion, state every ground on which you claim that you are being heldin violation of Sie
       Constitution, laws, or treaties of the United States. Attach additional pages if you have more than four
                                                               grounds. State the facts supporting each ground.

                                                                                     GROUND ONE; l.-effetrtl
                                                                                                              B«SuA\c\a\
                                                                                    tsthS
           (a)Supporting facts(Do not argue or cite law. Just state the specific factd thbt support your claim.):

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                                                                                                                                                  •TdLl'
                                                                                                (b) Direct Appeal of Ground Ono:
                                        (1) If you appealed from the judgment of conviction,
                                                                                 convict!    didyou raise this issue? jWlSu'                                      %
                                                                                                                                      YesiNo vXt
                (2) If you did not raise this issue in your direct appeal, explain why:


                                                                                  (c)Post-Conviction Proceedings:
                       :           (1) Did you raise this issue In any post-conviction motion, petition, or application?
                        ;                                                                                                             Yes^
                                                                           (2) If your answer to Question (c)(1) is "Yes," state:
                                                                       Type of motion or petition:                  "
            Name and location of the court where the motion or petition was filed:

                                                        Docket or case number (If you know):
                                                                     Date of the court's decision:
                   Result(attach a copy of the court's opinion or order. If available):


                                                  (3)Did you receive a hearing on your motion, petition, or application?
                                                                                                                                      Yes No
                                            (4) Did you appeal from the denial of your motion, petition, or application?
                                                                                                                                      Yes No


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Case 1:15-cr-00213-SJ Document 162 Filed 04/19/22 Page 4 of 37 PageID #: 1997




                                (5) If your answer to Question (c)(4) is "Yes," did you raise this issue in the appeal?
                                                                                                                                       Yes No
                         ^                                                  (6) if your answer to Question (c)(4) is "Yes," state:
                             Name and location of the court where the appeal was filed:

                                                        Docket or case number (if you know):
                                                                     Date of the court's decision:
                   Result(attach a copy of the court's opinion or order, if available):


      (7) if your answer to Question (c)(4)or Question (c)(5) is "No," explain why you did not appeal or raise
                                                                                              this issue:                                    l_




                                                                                    GROUND TWO;

          (a)Supporting facts(Do not argue or cite law. Just state the specific fac(b that support your clalrp.):
                                                                                                                                             feL.




                         ,                                                                      (b) Direct Appeamf Ground Two"
                         ;              (1)if you appealed from the judgment of conviction, did you raise this isst^e?
                                                                                                                                      Yes No
               (2) if ybu did not raise this issue in your direct appeal, explain why:


                                                                                 (c) Post-Conviction Proceedings:
                                  (1) Did you raise this issue in any post-conviction motion, petition, or application?
                                                                                                                                      Yes No
                                                                           (2) if your answer to Question (c)(1) is "Yes," state:
                                                                       Type of motion or petition:                                          ,L_
            Name and location of the court where the motion or petition was filed:                                                           L-.

                                                        Docket or case number (if you know):
                                                                     Date of the court's decision:
                  Result(attach a copy of the court's opinion or order, if available):


                                                  (3) Did you receive a hearing on your motion, petition, or application?
                       :f                                                                                                             Yes No


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Case 1:15-cr-00213-SJ Document 162 Filed 04/19/22 Page 5 of 37 PageID #: 1998




                                             (4) Did you appeal from the denial of your motion, petition, or application?
                                                                                                                                        Yes No
                                (5)if your answer to Question (c)(4) is "Yes," did you raise this issue in the appeal?
                                                                                                                                        Yes No
                                                                            (6) If your answer to Question (c)(4) is "Yes," state:
                             Name and location of the court where the appeal was filed:

                                                         Docket or case number (If you know):
                                                                      Date of the court's decision:
                   Result(attach a copy of the court's opinion or order, if available):


      (7)If your answer to Question (c)(4)or Question (c)(5) is "No," explain why you did not appeal or raise
                                                                                              this issue:                                     I



                                                                                  GROUND THREE:

          (a)Suppofting facts(Do not argue or cite law. Just state the specific facts that support your claim.):




                                                                              (b) Direct Appeal of Ground Three:
                                        (1) if you appealed from the judgment of conviction, did you raise this issue?
                         -                                                                                                             Yes No
                (2) if ^ou did not raise this issue in your direct appeal, explain why:

                                                                                 (c) Post-Conviction Proceedings:
                                  (1) Did you raise this issue in any post-conviction motion, petition, or application?
                                                                                                                                       Yes No
                                                         (2) If your answer to Question (c)(1) is "Yes," state:
                                                      Type of motion or petition:
            Name and location of the court where the motion or petition was filed:

                                                        Docket or case number (if you know):
                                                                     Date of the court's decision:
                   Result(attach a copy of the court's opinion or order, if available):



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Case 1:15-cr-00213-SJ Document 162 Filed 04/19/22 Page 6 of 37 PageID #: 1999




                                                  (3)Did you receive a hearing on your motion, petition, or applicati(|)n?
                                                                                                                                       Yes No
                                            (4) Did you appeal from the denial of your motion, petition, or application?
                                                                                                                                       Yes No
                                (5) If your answer to Question (c)(4) is "Yes," did you raise this issue In the appeal?
                                                                                                                                       Yes Mo
                                                               (6) If your answer to Question (c)(4) Is "Yes," state:
                             Name and location of the court where the appeal was filed:

                                                        Docket or case number (if you know):
                                                                     Date of the court's decision:
                   Result(attach a copy of the court's opinion or order, If available):


      (7)If your answer to Question (c)(4)or Question (c)(5) Is "No," explain why you did not appeal or rai£ie
                                                                                              this Issue:                                    I



                                                                                   GROUND FOUR:

         (a)Supporting facts(Do not argue or cite law. Just state the specific facts that support your clalrjn.):




                                                                               (b) Direct Appeal of Ground Four:
                                        (1) If you appealed from the judgment of conviction, did you raise this issue?
                                                                                                                                      Yes No
               (2) If you did not raise this Issue in your direct appeal, explain why:


                                                                                (c) Post-Conviction Proceedings:
                                 (1) Did you raise this issue In any post-convlctlon motion, petition, or application?
                                                                                                                                      Yes No
                                                                            (2) If your answer to Question (c)(1) Is "Yes," state:
                                                                       Type of motion or petition:                                           L_
            Name and location of the court where the motion or petition was filed:                                                           L_

                         .                              Docket or case number (If you know):

  410cr                                                                 7


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Case 1:15-cr-00213-SJ Document 162 Filed 04/19/22 Page 7 of 37 PageID #: 2000




                                                                     Date of the court's decision:
                   Result (attach a copy of the court's opinion or order, if available):


                                                  (3) Did you receive a hearing on your motion, petition, or application?
                                                                                                                                       Yes No
                                            (4)Did you appeal from the denial of your motion, petition, or application?
                                                                                                                                       Yes No
                                (5)If your answer to Question (c)(4) is "Yes," did you raise this issue in the appeal?
                                                                                                                                      Yes No
                                                                            (6) If your answer to Question (c)(4) is "Yes," stale
                             Name and location of the court where the appeal was filed:

                         ^                               Docket or case number (if you know):
                                                                     Date of the court's decision:
                   Result(attach a copy of the court's opinion or order, if available):


      (7) If your answer to Question (c)(4) or Question (c)(5) is "No," explain why you did not appeal or raise
                                                                                             this issue:




                                                   13.      Is there any ground in this motion that you have not previously
  presented in some federal court? if so, which ground or grounds have not been pr^ented, and state your
                                                               reasons for not presenting them:

                                                                                                          Mal-VgivlM ftccflf
                                                                                                                     %
     14       Do you have any motion, petition, or appeal now pendino (filed and not decided yet) in any couft ^
                                                                                 for the judgment you are challenging? Yes(1*lo)
        If "Yes," state the name and location of the court, the docket or case number, the type of proceeding.
                                                                             and the issues raised.




          15.      Give the name and address, if known, of each attorney who represented you In the loilowing
                                                                 stages of the judgment you      challenging:
                                                      (a)At preliminary hearing:

                                                                    (b)At arraignment and plea: oli-arfea
                                                                                               XlncLs
                                                                                            (c) At trial:



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Case 1:15-cr-00213-SJ Document 162 Filed 04/19/22 Page 8 of 37 PageID #: 2001




                                                                                   (d)At sentencing: G,\vayW Stoxfifc
                                                                                       (e) On appeal:

                                                         (f) In any post-convlctlon proceeding: nr/>                    sp.
                                                                                                               *        Co uJfxfie.\
      (g)On appeal from any ruling against you In a post-convlctlon proceeding:


   16.   Were you sentenced on more than one count of an Indictment, or on more than one Indictment^
                                                         the same court and at the same time? Yes^
     17. Do you have any future sentence to serve after you complete the sentence for the judgment th^
                                                                                                          you are challenging? Yes(§2^
       (a)If so, give name and location of court that Imposed the other sentence you will serve In the future:


                               (b) Give the date the other sentence was Imposed:
                                         (c) Give the length of the other sentence:
               (d) Have you filed, or do you plan to file, any motion, petition, or application that challenges the
                                                                  judgment or sentence to be served In the future? Yes jSa)
      18. TIMELINESS OF MOTION: If your judgment of conviction became final over one year ago, you
     must explain why the one-year statute of limitations as contained In 28 U.S.C.§ 2255 does not bar your
                                                                                                                                       motion.*




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Case 1:15-cr-00213-SJ Document 162 Filed 04/19/22 Page 9 of 37 PageID #: 2002




                     Therefore, movant asks that the Court grant the following relief;

                                                                                                      Vvj
                                                                            or any other relief to whteir



                                                                                      Signature of Attorney (If any)
        I declare (or certify, verify, or state) under penalty of peijury that the foregoing Is true and correct and
                               that this Motion Under 28 U.S.C. §.2255 was placed In the prison mailing system on
                                                                          /yy/2^22.                               ^(month,date, year).
                                                                           Executed fsloned)on                                           (date).


                                                                                                                           ,,

                                                                                                                      Slg^ture of Mov^ant
      If the person signing is not movant, state relationship to movant and explain why movant Is not slgrilrig
                                                                                            this motion.                                      L_



  Footnotes




  410cr                                                                 10


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  Case 1:15-cr-00213-SJ Document 162 Filed 04/19/22 Page 10 of 37 PageID #: 2003
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      Case 1:15-cr-00213-SJ Document 162 Filed 04/19/22 Page 11 of 37 PageID #: 2004


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     Case 1:15-cr-00213-SJ Document 162 Filed 04/19/22 Page 12 of 37 PageID #: 2005


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Case 1:15-cr-00213-SJ Document 162 Filed 04/19/22 Page 13 of 37 PageID #: 2006
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Fci -AucfeViiJ^     Bg9'^^57970^3
           M0TI0M1. (a)Name and location of court that entered the judgment of conviction you are
                                                  challenging: lea^ov                          J?
                                                            3AS QMtwv>.n Ptaaa. tSa»t^
                                                                         > >lgrt\Bai^k. WxoT
                        (b) Criminal docket or case number (If you know):                           v*5 >       C3T;
                    2. (a)Date of the judgment of conviction (if you know):                                                           ^
                                          (b) Date of sentencing:                       a<t^.'2joxxk^
                                         3. Unnthofsenteng^:—
                                   4.      Nature of crime (all counts):ra ooftaotfaci^ -Vo use
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                                               5.     (a)What was your plea?(Check one)
                  (1) Not guilty            eg)GuIHy^^             (3) Nolo contendere(no contest)
          (b)If you entered a guilty plea to one count or Indictment, and a not guilty plea to another count or
      Indictment, what did you plead guilty to and what did you plead not guilty to? gcilfy ^
                                                          aM                                                 "CT—t—'                      ^

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                       _                                  Aes-Vvii                                           e*i*^^Q)'»«A®
               6.      If you went to trial, what kind of trial did you havd?(Check one) Jury Judge only
                      7.      Did you testify at a pretrlal hearing, trial, or post-trial hearing?                            No
                              8.        Did you appeal from the judgment of conviction? Yes ^E-J
                                             9. If yoO did appeal, answer the following:
                                            (a) Name of court:
                             (b)Docket or case number (If you know):
                                                 (c) Result:
                                 (d)Date of result (if you know):
                               (e) Citation to the case (If you know):
                                            (f) Grounds raised:




                  (g)Did you file a petition for certlorari In the United States Supreme Court? Yes No
                                                       If "Yes," answer the following:
                            (1)Docket or case number (If you know):                        •
                                                (2)Result:

                                (3)Date of result (If you know):
                              (4)Citation to the case (if you know):
                                          (5)Grounds raised:



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Case 1:15-cr-00213-SJ Document 162 Filed 04/19/22 Page 14 of 37 PageID #: 2007




    10.       other than the direct appeals listed above, have you previously filed any other motions, petitions,
                        ^ or applications conceming this Judgment of conviction in any court?
                                                                     Yes(fJ^
                     11.       if your answer to Question 10 waV^s,"give the following information:
                                         (a)(1j Name of court:
                            (2) Docket or case number (if you know):
                                 (3)Date of filing (if you know):
                                  (4) Nature of the proceeding:
                                       (5)Grounds raised:




         (6) Did you receive a hearing where evidence was given on your motion, petition, or application?
                                                                     Yes No
                        ^               (7) Result:
                              (8) Date of result (If you know):
                (b) If you filed any second motion, petition, or application, give the same information:
                                     (1)Name of court:
                         (2)Docket or case number (if you know):
                        I         (3)Date of filing (if you know):
                                   (4) Nature of the proceeding:
                       '                (5) Grounds raised:




        (6) Did you receive a hearing where evidence was given on your motion, petition, or application?
                                                                     Yes No
                                          (7) Result:
                                 (8)Date of result (If you know):
    (c) Did you appeal to a federal appellate court having jurisdiction over the action taken on your motion,
                                                          petition, or application?


   (1) First     ) No
   petition: ( e



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Case 1:15-cr-00213-SJ Document 162 Filed 04/19/22 Page 15 of 37 PageID #: 2008




      (2) Second                   No
      petition:

          (d)If you did not appeal from the action on any motion, petition, or application, explain briefly why you
                                                                                                                                          • did not;
                                                                                                                 ^ WAS                    rt\u counts(

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        12.        For this motion, state every ground on which you claim that you are being held In violation of uw                                          fr
           Constitution, laws, or treaties of the United States. Attach additional pages if you have more than four
                                                                                   grounds. State the facts supporting each ground.

                                                                                         GROUND ONE:                                \ V-C C.OU'^&C \
                                                                                                                            ju iV,xl\
              (a)Supporting facts(Do not argue or cite law. Just state the specific facts th^ support your claim.):
                                                                                                                 Counsel «!<<<^ kowa^
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                                                                                                     (b) Direct Appeal 6f Ground One:
                                                                                                                                                                i\c|| 1
                                            (1) If you appealed from the judgment of conviction, did'you raise this issue?                                    jti 4
                                                                                                                                                              111
                                                                                                                                           Yes' No
                   (2) if you did not raise this issue In your direct appeal, explain why:                                     ;                ^         ivltr.




                                                                                                    (c) Post-Convlctlon Proceedings:
                          r          (1) Did you raise this issue in any post-conviction motion, petition, or application?
                                                                                                                  Yeslfl^
                                                                               (2) If your answer to Question (c)(1) is "Yes," state:
              .,              ^.                                          Type of motion or petition:                   '
              Name and .location of the court where the motion or petition was filed:
                                                           Docket or case number (if you know):
                                                                        Date of the court's decision:
                     Result (attach a copy of the court's opinion or order, if available):

                                                    (3) Did you receive a hearing on your motion, petition, or application?
                                                                                                                                          Yesjwo
                                              (4) Did you appeal from the denial of your motion, petition, or application?
                                                                                                                                         Yes Mo

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Case 1:15-cr-00213-SJ Document 162 Filed 04/19/22 Page 16 of 37 PageID #: 2009




                                 (5) if your answer to Question (c)(4)is "Yes," did you raise this issue in the appeal?
                                                                                                                                       Yes ] No
                                                                            (6)if your answer to Question (c)(4) is "Yes," state:
                             Name and location of the court where the appeal was filed:

                                                         Docket or case number (if you know):
                        '                                             Date of the court's decision:
                    Result(attach a copy of the court's opinion or order, if available):


        (7) If your answer to Question (c)(4)or Question (c)(5) is "No," explain why you did not appeal or raise
                                                                                              this issue:                                     '




                                                                                     GROUND TWO:

           (a)Supporting facts(Do not argue or cite law. Just state the specific facts that support your claim.):
                                                                                                                          Kas         Y«»r-
                        n                                                                                    v>ve       \teai




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                                                                                                           fBSjirtcVinfi wvy                      <ut'
                                                                                                (b) Direct AppeSi of'GrouncilPwo:
                                         (1) If you appealed from the judgment of conviction, did you raise this issue?
                                                                                                                                      Yes! No
                 (2) If you did not raise this issue in your direct appeal, explain why:


                                                                                 (c)Post-Conviction Proceedings:
                                   (1)Did you raise this issue in any post-conviction motion, petition, or application?
                                                                                                                                      Yes No
                                                                         (2)If your answer to Question (c)(1)is "Yes." state:
                                                                       Type of motion or petition:
             Name and location of the court where the motion or petition was filed:

                                                        Docket or case number (if you know):
                                                                     Date of the court's decision:
                   Result(attach a copy of the court's opinion or order, if available):


                                                  (3) Did you receive a hearing on your motion, petition, or application?
                                                                                                                                     Yes No


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Case 1:15-cr-00213-SJ Document 162 Filed 04/19/22 Page 17 of 37 PageID #: 2010




                                               (4) Did you appeal from the denial of your motion, petition, or application?
                        )                                                                                                                Yes. No
                                  (5)if your answer to Question (c)(4)is "Yes," did you raise this issue In the appeal?
                                                                                                                                         Yes No
                                                                              (6)if your answer to Question (c)(4)is "Yes," state:
                              Name and location of the court where the appeal was filed:
                                                           Docket or case number (if you know):
                                                                        Date of the court's decision:
                     Result(attach a copy of the court's opinion or order. If available):

        (7)If your answer to Question (c)(4)or Question (c)(6)is "No," explain why you did not appeal or raise
                                                                                               this issue:




                                                                                   GROUND THREE:

           (a)Supporting facts(Do not argue or cite law. Just state the specific facts that support your claim.):

                       f'i




                                                                                               (b)Direct Appeal of Ground IhrBa:
                                         (1) if you appealed from thejudgment of conviction, did you raise this is^ue?
                (2) if'you did not raise this issue in your direct appeal, explain why:                                                Yes No




                                                                                                (c)Post-Convlctlon Proceedings:
                                  (1)Did you raise this issue in any post-conviction motion, petition, or application?
                                                                                                                                       Yes No
                                                                         (2) If your answer to Question (c)(1)is "Yes," siaie:
                                                                       Type of motion or petition:
             Name and location of the court where the motion or petition was filed:^                                                        i_
                                                        Docket or case number (if you know):
                                                                     Date of the court's decision:
                   Resyit(attach a copy of the court's opinion or order, if available):

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Case 1:15-cr-00213-SJ Document 162 Filed 04/19/22 Page 18 of 37 PageID #: 2011




                                                   (3) Did you receive a hearing on your motion, petition, or application?
                                                                                                                                          Yes! No
                                             (4)Did you appeal from the denial of your motion, petition, or applicat on?
                                                                                                                                          Yes| No
                                 (5) If your answer to Question (c)(4)is "Yes," did you raise this issue in the appeEil?
                                                                                                                                          Yes No
                                                                             (6) if your answer to Question (c)(4) is "Yes," stale:
                        "• Name and location of the court where the appeal was filed:
                                                         Docket or case number (if you know):
                                                                      Date of the court's decision:
                    Result(attach a copy of the court's opinion or order, if available):


       (7) If your answer to Question (c)(4)or Question (c)(5) Is "No," explain why you did not appeal or raise
                        '                                                                      this issue:                                        '




                                                                                    GROUND FOUR:

          (a)Supporting facts(Do not argue or cite law. Just state the specific facts that support your claim.):




                                                                                (b) Direct Appeal of Ground Four:
                                         (1) If you appealed from the Judgment of conviction, did you raise this issue?
                                                                                                                                          Yes No
                (2) if you did not raise this issue in your direct appeal, explain why:


                                                                                                 (c) Post-Convlctlon Proceedings:
                                  (1) Did you raise this issue in any post-conviction motion, petition, or application?
                                                                                                                                          Yes No
                                                                             (2) if your answer to Question (c)(1)is "Yes," state:
                                                      Type of motion or petition:                                                     .
            Name and location of the court where the motion or petition was filed:                                        ^

                                                        Docket or case number (if you know):

  410cr                                                                  7


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Case 1:15-cr-00213-SJ Document 162 Filed 04/19/22 Page 19 of 37 PageID #: 2012




                                                                       Date of the court's decision:
                     Resuit(attach a copy of the court's opinion or order, if availabie):


                                                    (3)Did you receive a hearing on your motion, petition, or application?
                                                                                                                                       Yes No
                                             (4)Did you appeal from the deniai of your motion, petition, or application?
                                                                                                                                       Yes No
                                 (5)If your answer to Question (c)(4)Is "Yes," did you raise this Issue In the apdeal?
                                                                                                                                       Yed No
                                                                             (6)If your answer to Question (c)(4)Is "Yes," state:
                             Name and location of the court where the appeal was filed:                            '                        I
                                                          Docket or case number (if you know):
                                                                      Date of the court's decision:
                    Result(attach a copy of the court's opinion or order. If available):


        (7)If your answer to Question (c)(4)or Question (c)(5) is "No," explain why you did not appeal or raise
                                                                                              this Issue:




                                                    13.      Is there any ground in this motion that you have not previously
    presented in some federal court? If so. which ground or grounds have not been presented, and state Vpur
                                                                reasons for not presenting them:



                                                                                                                                                 (jcyiJ
                                                                                                                                                 jce:! ^
      14.      Do you have any motion, petition, or appeal now pending (filed and not decided yet) in any cbari
                                                                                  for the judgment you are challenging? YedTNo^
         if "Yes," state the name and location of4he court, the docket or case number, the type of proceedifig:^
                                                                              and the Issues raised.




            15.      Give the name and address, if known, of each attorney who represented you in the foiloWing
                                                                                 stages of the judgment you are challenging:
                                                                       (a)At preliminary hearing:

                                                                     (b) At arraignment and plea: CVoir/pA
                                                                                                             MrtjSm tsA
                         r                                                                  (c)At trial:                                    i



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Case 1:15-cr-00213-SJ Document 162 Filed 04/19/22 Page 20 of 37 PageID #: 2013




                                                                                     (d)At sentencing: OV#v>rU4
                                                                                                                           A.-U.h^gju A
                                                                                          (e)On appeal:

                                                           (f) In any post-ccnvlctlon proceedlnQ:                                  \mM.\
                                                                                                                   Y\ e \fcJ    CO QwAVfel.
        (g)On appeal from any ruling against you In a post-convlctlon proceeding:


     16. Were you sentenced on more than one count of an Indictment, or on more than one Indictments^
                                                                                    the same court and at the same time? Yes^
       17.       Do you have any future sentence to serve after you complete the sentence for the judgment thgt
                                                                                                            you are challenging? Yes                i
         (a) If so, give name and location of court that Imposed the other sentence you will serve In the future:

                                        (b) Give the date the other sentence was Imposed:
                                                     (c) Give the length of the other sentence:
                 (d)Have you filed, or do you plan to file, any motion, petition, or application that challenges toe
                                                                    judgment or sentence to be served In the future? YestS^
        18.      TIMELINESS OF MOTION: If your judgment of conviction became final over one year ago, you
       must explain why the one-year statute of limitations as contained In 28 U.S.C.§ 2265 does not bai; your
                                                                                                                                        motion. *




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Case 1:15-cr-00213-SJ Document 162 Filed 04/19/22 Page 21 of 37 PageID #: 2014




                        Therefore, movant asks that the Court grant the following relief:                                               VospA b>\                 Vole


                                                                                                                                                              f.e\
                                                                                                                                                         Ctoury
                                                                               or any other relief to whictTTnovant may be entitled.



                                                                                                               SignfilurebfAttomey (If any)
            declare (or certify, verify, or state) under penalty of perjury that the foregoing is true and correct and
                             that this Motion Under 28 U.^.C.§ 2255 was placed In the prison mailing system on
                                                                           /wZa-                                           (month, date, year).
                                                                             ixecuted (signed)on.                                                ate).



                                                                                                                           SigtpaiiJre of Movant
        If the person signing Is not movant, state relationship to movant and explain why movant is not signing
                                                                                               this motion.



    Footnotes




                         )<■


   410cr                                                                  10


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Case 1:15-cr-00213-SJ Document 162 Filed 04/19/22 Page 22 of 37 PageID #: 2015




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              MOTip^l. (a) Name and location of court tliat entered ttie Judgment of conviction you are
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                                                           ftrteokly >                  Wa^oT
                        (b)Criminal docket or case number (If you know); v«5 -                                CST)
                     2. (a) Date of the Judgment of conviction (If you know):
                                          (b)Date of sentencino:                       0^.2^2.0^
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                                   4.      Nature of crime (all counts): ra oatxaotfaa^ -Vo use i^ay>n
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                         •                     5.     (a)What was your plea?(Check one)
                   (1)Not guilty             cSt)Guilty^^           (3) Nolo contendere(no contest)
           (b)If you entered a guilty plea to one count or Indictment, and a not guilty plea to another count or
       Indictment, what did you plead guilty to and v^at did you plead not guilty to? gutft-y ^ 4fe.^cLw
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                6.      If you went to trial, what kind of trial did you havd?(Check one) Juiy                           Judge only
                       7. DIdyoutestlfyata pretrlalhearIng, trial, or post-tiial hearing?                                  No
                               8.' Did you appeal from the judgment of conviction? Yes
                                           9. If you did appeal, answer the following:
                                          (a) Name of court:
                              (b)Docket or case number (If you know):
                                              (c) Result:
                                  (d) Date of result (If you know):
                                (e) Citation to the case (If you know):
                                         (f) Grounds raised:




                   (g)5ld you file a petition for certlorarl In the United States Supreme Court? Yes No
                                                       If "Yes," answer the following:
                              (1)Docket or case number (If you know):                     •
                                                (2)Result:

                                 (3)Date of result (If you know):
                               (4)Citation to the case (If you know):
                                       (5)Grounds raised:



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Case 1:15-cr-00213-SJ Document 162 Filed 04/19/22 Page 26 of 37 PageID #: 2019




    10.       other than the direct appeals listed above, have you previously filed any other motions, petitions,
                         or applications concerning thisjudgment of conviction in any court?
                                                                     Yes(^^
                     11,         if your answer to Question 10 was'^s," give the following Information:
                                        (a)(1) Name of court:
                               (2)Docket or case number (If you know):                              ;
                                   (3)Date of filing (If you know):
                                    (4) Nature of the proceeding:                              ;
                                         (5) Grounds raised:




         (6) Did you receive a hearing where evidence was given on your motion, petition, or application?
                                                                     Yes No
                        )                 (7) Result:
                               (8)Date of result (If you know):
                 (b) If you filed any second motion, petition, or application, give the same information:
                                      (1) Name of court:
                        \ (2)Docket or case number (if you know):
                                   (3)Date of filing (if you know):
                                    (4) Nature of the proceeding:
                                         (5)Grounds raised:




        (6) Did you receive a hearing where evidence was given on your motion, petition, or application?
                                                                     Yes No
                        j,          (7) Result:
                         (8)Date of result (if you know):
    (c) Did you appeal to a federal appellate court having jurisdiction over the action taken on your motion,
                                                          petition, or application?


   (1) First / Y t No
   petition: { e


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Case 1:15-cr-00213-SJ Document 162 Filed 04/19/22 Page 27 of 37 PageID #: 2020




      (2) Second " Y                 No
      petition:                  e

         (d) If you did not appeal from the action on any motion, petition, or application, explain briefly why you
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        12.       For this motion, state every ground on which you claim that you are being held In violation of the
          Constitution, laws, or treaties of the United States. Attach additional pages if you have more than four
                                                                                    grounds. State the facts supporting each ground.

                                                                                          GROUND ONE:                               . 'v-c ^ov.>v^ac \
                                                                                                                   ■jpf e jvi {cTtxtV
              (a) Supporting facts (Do not argue or cite law. Just state the specific facts' th^ support your cidlm.):
                                                                                                                  Counsel cf/ci YVof" UoVVair jyv/
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                                                                                                                                                          V        'M
                                                                                                      (b) Direct Appeal df Ground One:                                    oio

                                            (1) If you appealed from the Judgment of conviction, did'you raise this issue?
                                                                                                                                                                   m rT»>s.\^
                                                                                                                                               Yes No
                   (2) If you did not raise this issue in your direct appeal, explain why:                                                 ■      I

                                                                                                     (c) Post-Conviction Proceedings:
                         I            (1) Did you raise this issue in any post-conviction motion, petition, or applicaiiopZ
                                                                                                                                               Yes
                                                                                (2) If your answer to Question (c)(1) is "Yes," state:
                                                                           Type of motion or petition:                   '
              Name and .location of the court where the motion or petition was filed:                                                             l_
                                                           Docket or case number (if you know):
                             !                                          Date of the court's decision:
                    Result (attach a copy of the court's opinion or order, if available):

                                                     (3) Did you receive a hearing on your motion, petition, or application?
                                                                                                                                           Yes No
                                               (4) Did you appeal from the denial of your motion, petition, or application?
                                                                                                                                           Yes No

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Case 1:15-cr-00213-SJ Document 162 Filed 04/19/22 Page 28 of 37 PageID #: 2021




                                  (5) If your answer to Question (c)(4) is "Yes," did you raise this Issue in the appeal?
                                                                                                                                        Yes No
                                                                              (6) if your answer to Question (c)(4)Is "Yes,"|state:
                              Name and location of the court where the appeal was filed:                                                   L
                                                           Docket or case number (if you know);
                       '                                   Date of the court's decision:
                     Result(attach a copy of the court's opinion or order. If available):


         (7) if your answer to Question (c)(4)or Question (c)(5)Is "No," explain why you did not appeal orl raise
                                                                                               this issue:




                                                                                      GROUND TWO:
            ,^ ^                                                                                                                           I
            (a)Supporting facts(Do not argue or cite law. Just state the specific fact& that support your claim.):
                                                                                                              Connect kas irtJ                 3:cn4-

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                                                                                                                               5sen4eirtc«rtj—
                                                                                                 (b) Direct Appea orGround'^vo:
                                          (1) if you appealed from the judgment of conviction, did you raise this issue?
                                                                                                                                       Yes No
                 (2)If you did not raise this Issue In your direct appeal, explain why:

                                                                                                 (c) Post-Convlctlon Proceedings:
                                   (1) Did you raise this Issue in any post-convlction motion, petition, or appiicallon?
                                                                                                                                       Yes No
                                                                            (2) If your answer to Question (c)(1)Is "Yes," state:
                                                                        Type of motion or petition:
              Name and location of the court where the motion or petition was filed:
                                                         Docket or case number (If you know):
                        c                                             Date of the court's decision:
                    Result(attach a copy of the court's opinion or order, If available):


                                                  (3)Did you receive a hearing on your motion, petition, or application?
                                                                                                                                      Yes No


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Case 1:15-cr-00213-SJ Document 162 Filed 04/19/22 Page 29 of 37 PageID #: 2022




                                            (4)Did you appeal from the denial of your motion, petition, or application?
                                                                                                                                     Yes No
                                (5)If your answer to Question (c)(4) Is "Yes," did you raise this issue In the appeal?
                                                                                                                                     Yes No
                                                                           (6) If your answer to Question (c)(4)Is "Yes," state:
                             Name and location of the court where the appeal was filed:                                                   L
                                                        Docket or case number (If you know):
                                                                     Date of the court's decision:
                   Resbit(attach a copy of the court's opinion or order, If available):

       (7)If your answer to Question (c)(4) or Question (c)(5)Is "No," explain why you did not appeal or fjaise
                                                                                             this Issue:                                 !!



                                                                                GROUND THREE:

          (a)Supporting facts(Do not argue or cite law. Just state the specific facts that support your claim.):


                       •.c




                                                                                             (b)Direct Appeal of Ground Threie:
                                        (1) If you appealed from the judgment of conviction, did you raise this Issue?
                                                                                                                                     Yesi No
               (2) If you did not raise this Issue In your direct appeal, explain why:


                                                                               (c)Poet-Convlctlon Proceedlhgs:
                                 (1)Did you raise this Issue In any post-convlctlon motion, petition, or application?
                                                                                                                                    Yes No
                                                         (2) If your answer to Question (c)(1)is "Yes," state:
                                                      Type of motion or petition:
            Name and location of the court where the motion or petition was filed:

                        i,                             Docket or case number (If you know):
                                                                    Date of the court's decision:
                  Result (attach a copy of the court's opinion or order. If available):


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Case 1:15-cr-00213-SJ Document 162 Filed 04/19/22 Page 30 of 37 PageID #: 2023




                                                  (3) Did you receive a hearing on your motion, petition, or application?
                                                                                                                                      Yes No
                                            (4) Did you appeal from the denial of your motion, petition, or application?
                         ^                                                                                                            Yes I No
                                (5)If your answer to Question (c)(4)is "Yes," did you raise this issue in the appeal?
                                                                                                                                      Yes No
                                                                            (6) if your answer to Question (c)(4)is"Yes," stale:
                             Name and location of the court where the appeal was filed:                                                        L_

                                                         Docket or case number (if you know):
                                                                     Date of the court's decision:
                   Result(attach a copy of the court's opinion or order, if available):


       (7)If your answer to Question (c)(4) or Question (c)(5)is "No," explain why you did not appeal or raise
                                                                                             this issue:                                       L_



                                                                                  GROUND FOUR:

          (a)Supporting facts(Do not argue or cite law. Just state the specific facts that support your claim.):


                        \L




                                                                               (b) Direct Appeal of Ground Four:
                                        (1) if you appealed from the Judgment of conviction, did you raise this issue?
                                                                                                                                     Yes No
                (2)if you did not raise this issue In your direct appeal, explain why:


                                                                                 (c)Post-Convlctlon Proceedings:
                                  (1) Did you raise this issue In any post-conviction motion, petition, or application?
                                                                                                                                     Yes I No
                                                                            (2)if your answer to Question (c)(1)is "Yes," state:
                                                                      Type of motion or petition:                 '
            Name and location of the court where the motion or petition was filed:                                                         '

                                                       Docket or case number (If you know):

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Case 1:15-cr-00213-SJ Document 162 Filed 04/19/22 Page 31 of 37 PageID #: 2024




                                                                        Date of the court's decision:
                     Result (attach a copy of the court's opinion or order, If available):


                                                    (3) Did you receive a hearing on your motion, petition, or application?
                                                                                                                                        Yes No
                                                (4) Did you appeal from the denial of your motion, petition, or application?
                                                                                                                                        Yes No
                                  (5)If your answer to Question (c)(4)is "Yes," did you raise this issue In the appeal?
                                                                                                                                        Yes No
                                                                             (6)If your answer to Question (c)(4)Is "Yes," state:
                             Name and location of the court where the appeal was filed:
                        :                                  Docket or case number (if you know):
                                                                       Date of the court's decision:
                     Resuit (attach a copy of the court's opinion or order. If available):

        (7) If your answer to Question (c)(4)or Question (c)(5) is "No," explain why you did not appeal or raise
                                                                                               this Issue:




                    —                               13.       Is there any ground in this motion that you have nst previously
    presented in some federal court? If so, which ground or grounds have not been presented, and state your
                                                                reasons for not presenting them:




                _                           .         ..                                                                 >               ... ^
      14       Do you have any motion, petition, or appeal now pending (filed and not decided yet) in any coiirt
                     :                                           for the judgment you are challenging? Ye^TNo^^ CB f
         If "Yes," state the name and location of4he court, the docket or case number,the type of proceedmgr^
                                                                              and the issues raised.




           15.       Give the name and address, if known, of each attorney who represented you in the follo>Wng
                                                                                 stages of the judgment you are challenging:
                                                                       (a)At preliminary hearing:

                                                                    (b)At arraignment and plea: dVour/pA
                                                                                                                             KA MeuA'Si
                                                                                            (c)At trial:                                     I


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Case 1:15-cr-00213-SJ Document 162 Filed 04/19/22 Page 32 of 37 PageID #: 2025




                                                                                       (d)At sentencing: oVwlei
                                                                                           (e)On appeal:

                                                            (f) In any post-conviction proceeding;                          5^,
                                                                                                                               foawuzel
        (g)On appeal from any ruling against you In a post-conviction proceeding:                                                               L__


     16.       Were you sentenced on more than one count of an indictment, or on more than one indictmenf^
                                                                                      the same court and at the same time? Yes^
       17.       Do you have any future sentence to serve after you complete the sentence for the judgment thgt
                                                                                                              you are challenging? Yes
         (a) If so, give name and location of court that imposed the other sentence you will serve In the future:

                                        (b) Give the date the other sentence was imposed:
                                                      (c) Give the length of the other sentence:
                 (d) Have you filed, or do you plan to file, any motion, petition, or application that challenges Jlje
                                                 judgment or sentence to be served in the future? YesCSoJ
        18.      TIMELINESS OF MOTION: If your judgment of conviction became final over one year agoi you
       must explain why the one-year statute of limitations as contained in 28 U.S.C.§ 2255 does not bar your
                                                                                                                                          motion. *



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Case 1:15-cr-00213-SJ Document 162 Filed 04/19/22 Page 33 of 37 PageID #: 2026




                      Therefore, movant asks that the Court grant the following relief:                                            \?aspJ        •Vr^e to 1C
                                                                                                            sKtv^
                                                                                                                                                 CiJUrtS
                                                                             or any other relief to whicfT^bvant may be entitled.



                                                                                       Signature^ Attorney (If any)
         I declare (or certify, verify, or state) under penalty of perjury that the foregoing Is true and correct and
                            that this Motion Under 28 U.S.C.§ 2255 was placed In the prison mailing systern on
                                                                  ^h^Zz.                                           .(month, date, year).
                                                                       Executed (signed)on                    Hfizlisz-         (dale).


                                                                                                                        Jriature of MoVant
       If the person signing Is not movant, state relationship to movant and explain why movant Is not signing
                                                                                            this motion,                       *



   Footnotes




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Case 1:15-cr-00213-SJ Document 162 Filed 04/19/22 Page 34 of 37 PageID #: 2027




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         Case 1:15-cr-00213-SJ Document 162 Filed 04/19/22 Page 36 of 37 PageID #: 2029
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             ooV-e awA -^e ytvflUy^ "T c&<me ^o,n^—-^f-ersas \/eWrvV'y?>S>^ S
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             7{i\f\.                                    ^-Tvvj -pyr n. lig                                V>sj-^WnSrf'' vr'^)f?g<vf/nq                                          1S—CL^cit
             wu^t^A,^o.U^ \fa\up:^^                                                                            -Vo \"vp qo>                                                          i.a
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             g^egk                                                                          —o-?-                                                                  .T^S                    'M.tl
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                       ^;v/^A^4Ji^<s-oVu-\AfU^tA Ue (^irv»wpA 4X>.q                                                                      (A^Cm'
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             l[fi ■fi\-|' ✓yVl^-^UWV;A^ NAfA^ W&Xm^.                                                                                 Vv?>
             ^A^^c>SA^J^V':-         ...u^jp p.r^?A4- ^^A\Af^ ^K^ngQc? h nrrf Kowo mvc                                                                                                                 -£CC


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 Case 1:15-cr-00213-SJ Document 162 Filed 04/19/22 Page 37 of 37 PageID #: 2030



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